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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:02CR419
                              )
          v.                  )
                              )
JEVAUGHN D. ERWIN,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to reduce sentence (Filing No. 155), and the stipulation of the

parties (Filing No. 158).      Pursuant to the retroactive amendment

to the cocaine base guidelines, the defendant’s final offense

level is reduced from 36 to 34.        His criminal history category

remains at III.    The government and defense agree that his

sentence should be reduced to one hundred fifty (150) months

imprisonment, considering the prior computation of specific

offense characteristics, adjustments, and departures.

Accordingly,

           IT IS ORDERED:

           1) Said motion to reduce sentence is granted and the

stipulation of the parties is approved and adopted; the sentence

of the defendant is reduced to one hundred fifty (150) months.
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           2)   The conditions of supervised release entered in the

original judgment and committal order remain in full force and

effect.

           IT IS RECOMMENDED that defendant be permitted to serve

his sentence as close to Inglewood, California, as possible.

           DATED this 11th day of April, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court




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